Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 1 of 19 PageID #: 843




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION


LARGAN PRECISION CO., LTD.,

         Plaintiff,                                     Case No. 4:19-cv-696-ALM


    v.

ABILITY OPTO-ELECTRONICS TECHNOL-
OGY CO., LTD., ET AL.,

         Defendants.



______________________________________________________________________________

            DECLARATION OF CHIA-WEN LEE IN OPPOSITION TO
                AOET’S AND NEWMAX’S MOTIONS TO DISMISS
______________________________________________________________________________

         I, Chia-Wen Lee, declare as follows:

         1.      I am the Head of the Legal Division at Largan Precision Co., Ltd., where I have

worked since November 2009.

         2.      I am an attorney duly licensed to practice law in the State of New York. After

earning my law degree in Taiwan, I attended The Pennsylvania State University Dickinson

School of Law, where I earned both a Master of Laws (L.L.M.) and a Juris Doctorate (J.D.). I

spent a year practicing law in the United States before returning to Taiwan.

         3.      I make this declaration in opposition to AOET’s and Newmax’s motions to dis-

miss (Dkt. #30 and 39) based on my own personal knowledge except where stated otherwise, and

if called to do so, could and would competently testify to the facts stated herein.
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 2 of 19 PageID #: 844




       5.      Additionally, I have reviewed the declarations of Nicole Hsiao and Ching-Kuan

Lin, which AOET and Newmax submitted in support of their respective motions. As further ex-

plained below, those declarations inaccurately portray the imaging-lens industry generally, and

AOET’s and Newmax’s connections with HP, the United States, and Texas specifically.

                 HP Products Incorporating Infringing AOET and Newmax
                 Lenses Are Sold Throughout the United States and Texas.

       6.      As stated in the complaint, Largan enlisted the support of a computed tomography

(“CT”) scanner to confirm that infringing AOET and Newmax lenses were incorporated into end

products sold across the United States and Texas.

       7.      During Largan’s pre-suit investigation, Largan also purchased numerous HP prod-

ucts in the United States to test whether they infringe the patents-in-suit; provided copies of the




                                                 2
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 3 of 19 PageID #: 845




                           HP models              Product 10

                   HP Spectre Folio               3SD73AV_1
                                                  4TL67UA#ABA
                                                  5GQ93UA#ABA
                   HP Pavilion x360 Convertible   4NC87UA#ABA
                   14
                   HP x360 Convertible 14M        3DR45AV_1
                                                  4NC87UA#ABA
                   HP x360 Convertible            3DR45AV_1
                   14T                            4SX04AV_1
                   HP Envy x360 15T               5JR84AV_1
                                                  5JR82AV_1
                                                  50N41AV_1
                                                  3EC87AV_1
                                                  5HK14AV_1
                   HP Envy x360 15Z               3EC81AV_1
                                                  5QN27AV_1
                   HP Envy x360 Convertible 15    4HH56UA#ABA
                                                  5JR84AV_1
                                                  4HH53UA#ABA
                                                  1 KS77UA#ABA
                   HP Envy x360 Convertible       1ZA23AV_ 1
                   15M                            4QF77AV_1
                   HP Envy 15                     1UZ37EA
                   HP Omen X 17                   2LV61UA#ABA
                   HP Omen 17                     3AW55AV_1
                                                  5UK34AV_1
                                                  4NA35UA#ABA
                                                  4FJ26AV_1
                   HP Omen X 17T                  1PN85AV
                   HP EliteBook 1050G1            4NC54UT#ABA
                                                  3TN94AV_MB
                                                  4NC55UT#ABA
                                                  4NL54UT#ABA




                                                   3
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 4 of 19 PageID #: 846




                         HP Zbook Studio x360 GS   4NL02UT#ABA
                                                   2YS50AV_MB
                                                   4NL13UT#ABA
                                                   4NL44UT#ABA
                         HP Zbook Studio GS        4NH77UT#ABA
                                                   2YN59AV_MB
                                                   4NH78UT#ABA
                                                   4NM08UT#ABA
                         HP Elitebook 745 GS       4JB96UT#ABA
                                                   2MG22AV_MB
                                                   4JB83UT#ABA
                                                   4JB90UT#ABA
                         HP Elitebook 755 GS       4HZ47UT#ABA
                                                   2MN14AV_MB
                                                   4HZ48UT#ABA
                                                   4HZ53UT#ABA
                         HP Pavilion x360          3DZ22AV_1
                                                   5TM97AV_1
                                                   5RD26AV_1
                         HP Elitex2                5RB71UT#ABA
                                                   2KN62AV_MB
                                                   4RG84UT#ABA
                         HP EliteBook 840r G4      2LG02AV_MB




       11.     As the complaint states, I followed up with HP, AOET, and Newmax in an effo1t

to obtain more info1mation about which suppliers provided the imaging lenses in HP products

suspected of infringing the patents-in-suit.

       12.     For instance, on August 8, 2019, I emailed AOET asking for the AOET model

numbers that coITesponded to certain HP product models, and I attached images of the camera

modules and lens systems in those product models. A hue and coITect copy of that email is at­

tached as Exhibit 2.




                                                    4
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 5 of 19 PageID #: 847




       15.     Based on the results of Largan’s testing, Largan included most of the products in

the above chart, by name, as accused products in the complaint. Even without further pre-suit co-

operation from the defendants or the discovery to which Largan is entitled, Largan can show that

many of these infringing products, including many products for which AOET or Newmax are the

sole suppliers, are or were sold in the United States.

       16.     For example, Largan’s complaint accuses the HP Spectre Folio. As noted, HP

identified AOET as the sole source of lenses for the HP Spectre Folio. And in HP’s chart, HP

identified AOET as the only supplier for three specific Spectre Folio products corresponding to

HP product numbers 3SD73AV_1, 4TL67UA#ABA, and 5GQ93UA#ABA.




                                                  5
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 6 of 19 PageID #: 848




         17.         Two of those Spectre Folio products cmTently are being sold, or were sold, across

the United States and in Texas via HP's website. This includes HP product number

5GQ93UA#ABA, as shown below:


    HP STORE / BUSINESS COMPUTERS / BUSINESS LAPTOPS / HP SPECTREFOUO 13 / HP SPECTRE FOLIO 13°AK0015NR
                                                                                           0




                                                                                   HP Spectre Folio - 13-ak0015nr
                                                                                   ****·            4.1 (35)   Write a review       I ENERGY STAR

                                                                                   Special offers: Save $30 with Purchase of Select PCs I Save $350 instantly


                                                                                   I See similar products
                                                                                                                                     >I
                                                                                   • Windows 10 Home 64
                                                                                   • 8th Generation Intel® Core™ i7 processor
                                                                                   • Intel" UHD Graphics 615
                                                                                   • 8 GB memory; 256 GB 5SD storage
                                                                                   • 13.3" diagonal Full HD touch display

                                                                                   See all Specs

                                                                           >
                                                                                   $   W49. l#fihilf 99
                                                                                                                                Ships within 1 business day



                                                                                   Product#        5GQ93UA#ABA I




         18.         HP product number 3SD73AV_1 also can be found on HP's website but is out of

stock. As of Janua1y 4, 2019, the website directs customers to the page for product number

5GQ93UA#ABA, shown above, which the website describes as similar.

         19.         The third HP Specti·e Folio product listed in HP's chaii, product number

4TL67UA#ABA, also is cunently being sold across the United States and in Texas, but on other

websites including Amazon.com, Walmaii.com, Newegg.com, and BestBuy.com.

         20.         A ti11e and conect copy of a printout of the Amazon.com listing for product num-

ber 4TL67UA#ABA is attached as Exhibit 3. As shown below, the product number appeai·s un­

der "Other Technical Details."




                                                                               6
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 7 of 19 PageID #: 849




    " Other Technical Details


         Brand Name                                                  HP

         Series                                                      HP Spectre

         Item model number                                           4TL67UA#ABA




        21.        A tme and coITect copy of a printout of the Wahnait.com listing for product mun-

her 4TL67UA#ABA is attached as Exhibit 4. As shown below, the product number appeai·s un-

der "Specifications."


                  Specifications


                   Processor Type                                    Intel Core i7


                   Hard Drive Capacity                               256GB


                   Processor Speed                                   1.50 GHz


                   Manufacturer Part Number                          4TL67UA#ABA




        22.        A tme and coITect copy of a printout of the Newegg.com listing for product mun-

her 4TL67UA#ABA is attached as Exhibit 5. As shown below, clicking on a "Specifications" tab

reveals additional info1mation, including the product number.


                       Model
                         Brand                      HP

                         Series                     Spectre Folio

                         Model                      13-ak0013dx

                         Part Number                4TL67UA#ABA




                                                   7
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 8 of 19 PageID #: 850




       23.     On Best Buy's website, this HP Spectre Folio product is listed for sale by name

(i.e., "HP - Spectre Folio Leather 2-in-1 13.3" Touch-Screen Laptop - Intel Core i7 - 8GB

Memo1y- 256GB Solid State Drive - Cognac Brown"). But Best Buy's downloadable "Product

Datasheet/Brochure (PDF)" provides additional details, including the product number:


                Additional Information
                Product number      • 4TL57UAltABA

                Ad embargo date     • 10/28/2018
                UPC Code            • 193015134423
                Country of origin   • China




Trne and co1Tect copies of a printout of the BestBuy.com listing and the "Product Datasheet/Bro­

chure (PDF)" are attached as Exhibit 6.

       24.     Best Buy's website fmiher indicates that this paiiicular Spectre Folio product is

for sale and on display at Best Buy brick-and-mo1iar stores in Texas, including its locations in

Frisco, Park Lane, Grapevine, Hurst, and Arlington. It's also available for purchase and in-store

pick-up at numerous other Best Buy locations in Texas, including the store located at 823 No1ih

Creek Drive in She1man, and more than a dozen other locations within about 50 miles of the Paul

Brown United States Courthouse:




                                                     8
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 9 of 19 PageID #: 851




                                                                                                                                                 X

       Availability near Sherman, TX (75090)                           Update Location

                          HP - Spectre Folio Leather 2-in-113.3" Touch-Screen Laptop - Intel Core i7 - 8GB Memory - 256GB
                          Solid State Drive - Cognac Brown




           0     Frisco                                                               0
                                                                                      �
                                                                                              @!}

                                                                                      J
           39 Miles Away
           Available Today - Ready in 1 hour                                l
                                                                            1
      I    •Only21eftl
           • Demo model on display                                                                              s..n0r
                                                                                          Lebanon
           • Eligible for Best Buy Curbside Pickup



           0     Sherman
           4 Miles Away
           Order for pickup on Thu. Jan 9


           0 Allen
           35 Miles Away
                                                                                                                                      I
           Order for pickup on Thu, Jan 9
                                                                                                                                     l
           0     Denton
                                                               l<EA
                                                                                                             McDermott Rd
           43 Miles Away                                       .._._ Toll

           Order for pickup on Thu. Jan 9                                                                                                            R,
                                                            Frisco

           0     Prestonwood                                3333 Preston Rd
                                                            Frisco, TX 75034
                                                                                                              Open until 10 p.m.
                                                                                                                   Store Details
                                                                                                                                          Hmt•Ya
                                                                                                                                             Plano

           49 MIies Away
                                                     >r
           Order for pickup on Thu. Jan 9                                           Add to Cart


           0     Mckinney
                                                                                � Make this your store
                                                                                                                                        en Dr
                                                                                          Leaflet I Bing,   e 2019 Microsoft Corporalion. e 2019 HERE



          25.         Additionally, Largan's pre-suit investigation and testing detennined that at least

one camera in all the accused HP products named in Largan's complaint infringe one or more pa­

tents-in-suit. And to conduct that investigation and testing, Largan purchased accused HP prod­

ucts from different locations in the United States, at brick-and-mo11ar stores as well as online.

          26.         In Febmaiy 2019, for example, Largan purchased the same HP Spectre Folio

product that's cmTently on display in Frisco, Texas (product number 4TL67UA#ABA) from the

Best Buy store in San Caifos, California. This product is listed in Largan's complaint. According



                                                                      9
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 10 of 19 PageID #: 852




 1050 G l , product number 4NC54UT#ABA, which contains a front-facing HD IR webcam with

 dual camera lenses (i.e., one RGB lens and one IR lens). Largan's testing indicates that both

 lenses infringe a patent-in-suit. This product was sold throughout the United States and in Texas

 via HP's website, which is where Largan purchased it and had it shipped to a designated address

 in the United States. This product is still listed on HP's website but is cmTently out of stock, as

 shown below.


    HOME / HP EUTEBOOK 1050 Gl NOTEBOOK PC




                                                             HP EliteBook 1050 Gl Notebook PC



                                             -
                                                             ****j          4.7 (6)   Write a review       I ENERGY STAR


                                             II
                             11!1:r-   "
                            ....•__..,
                   a        111 er:: i                    Special offers: Add to cart for special savings
                            e;ia__
                            "i� e •                          • This product has been discontinued.
                                       ..

                                   ..
                                                             • Windows 1 O Pro 64
                                   ··•i!"
                                                             • 8th Generation Intel� Core"' 15 processor
                             ��
                                                             • 8 GB memory; 256 GB SSD storage
                                                             • 15.6" diagonal Full HD display

                                                          See all Specs




                                                         I Product#       4NC54UT#ABA
                                                    >


          28.          In addition, Largan has separately purchased the relevant components of accused

 HP products (e.g., camera modules or webcams) in the United States via HP's website. And ac­

 cording to FedEx tracking infonnation, most of those components were shipped from Texas,

 where HP has extensive operations.


                                                        10
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 11 of 19 PageID #: 853




        29.     For example, Largan purchased HP part number L30660-001 in February 2019,

 and it was shipped from HP in Texas to a designated address in the United States. According to

 the “HP PartSurfer” and “Manuals” on HP’s website, this part is an IR camera module used in

 several HP products, including the above-mentioned HP EliteBook 1050 G1, and other HP prod-

 ucts accused in Largan’s complaint, such as the HP Zbook Studio G5 and HP Zbook Studio x360

 G5. In the above chart, HP identified Newmax as the sole lens-system supplier for HP EliteBook

 1050 G1, product number 4NC54UT#ABA, and AOET as the sole lens-system supplier for the

 HP Zbook Studio G5, product numbers 4NH78UT#ABA and 4NM08UT#ABA, and the HP

 Zbook Studio x360 G5, product number 4NL44UT#ABA.




 accused HP products such as the HP EliteBook 1050 G1, the HP Zbook Studio G5 and HP

 Zbook Studio x360 G5. And when HP sold those modules to consumers in the United States di-

 rectly, HP shipped some or all of the parts from Texas.

        31.     Further, Largan has purchased and analyzed HP products beyond those listed in

 HP’s chart or their relevant components. For example, from the same Best Buy where Largan

 purchased the Spectre Folio mentioned above, Largan purchased an HP Pavilion x360, product

 number 3XV03UA#ABA. This product is accused in the complaint because Largan’s testing in-

 dicates that it infringes. Discovery will confirm if AOET and/or Newmax supplied the lenses for

 this product, just like they supplied the lenses for most of the other accused HP products. In addi-

 tion, discovery will also confirm that many HP products are named differently but incorporate

 the same lens systems.



                                                 11
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 12 of 19 PageID #: 854




          AOET’s and Newmax’s Submissions Inaccurately Portray Their Relation-
            ships with HP and Their Connections to the United States and Texas.

        32.     As the complaint states, Largan is the world’s largest supplier of high-end imag-

 ing lenses for smartphones. Largan’s lenses can also be found in other consumer electronic prod-

 ucts, including notebook and laptop computers. AOET and Newmax are two of Largan’s direct

 competitors in the imaging-lens industry.

        33.     Ms. Hsiao’s declaration acknowledges, without providing any significant detail,

 that AOET has “a commercial relationship with HP,” has designed lenses “for use in HP prod-

 ucts,” and has entered into at least two formal contracts with HP. Mr. Lin’s declaration includes

 less information, as it neither confirms nor denies whether Newmax has a relationship with HP,

 has designed lenses for HP, or has entered into any agreements with HP.

        34.     Both Ms. Hsiao’s declaration and Mr. Lin’s declaration omit any explanation of

 how imaging-lens manufacturers like AOET, Newmax, and Largan make decisions about which

 lenses they manufacture, the specifications of those lenses, how many to manufacture, who to

 sell them to, and for how much.

        35.     End product-manufacturers like HP (or OEMs, as Newmax refers to them to dif-

 ferentiate them from end-product integrators in China) play a major role in all those decisions.

 Most imaging lenses are custom manufactured based on requirements and guidance provided,

 directly or indirectly, by end-product manufacturers like HP.

        36.     More specifically, imaging-lens manufacturers typically sell into supply chains

 associated with a particular end-product manufacturer. Although there may be no direct sales be-

 tween the imaging-lens manufacturer and the end-product manufacturer, they engage in general

 discussions on price, specifications, production capacity, and other issues. These discussions are

 often memorialized in a “Statement of Work” or another document setting forth the end-product


                                                 12
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 13 of 19 PageID #: 855




 manufacturer’s expectations. Following these discussions, imaging-lens manufactures typically

 engage in direct sales negotiations with other entities in the supply chain, such as module inte-

 grators, using the guidance provided by the end-product manufacturer as a reference.

        37.     Because demand by end-product manufacturers can drive and impact sales to their

 supply chains, imaging-lens manufacturers value and cultivate relationships with end-product

 manufacturers located in the United States (i.e., the largest market for consumer electronics), not

 just entities with which they engage in direct sales. And to foster such demand, imaging-lens

 manufacturers may send sample products to end-product manufacturers, attend trade shows, and

 employ other sales strategies. It’s also common for imaging-lens manufacturers’ engineering

 teams to visit the United States to collaborate with end-product manufacturers on product expec-

 tations and design.

        38.     For instance, Newmax has continually stated in its annual reports from 2010 to

 2019 that its marketing strategy involves establishing “upstream and downstream strategic alli-

 ances” with well-known international brands and manufacturers. Newmax also made a statement

 to the Taipei Exchange, an organization that provides over-the-counter (OTC) and bond trading

 in Taiwan, advertising the fact that its lenses could be found in the notebook built-in cameras of

 the world’s top five notebook-computer manufacturers. True and correct copies of the relevant

 portions of Newmax’s 2019 annual report and a printout of the statement on the Taipei Exchange

 website are attached as Exhibit 7. I am fluent in Mandarin Chinese and certify that the above de-

 scriptions of these exhibits are accurate.

        39.     Further, in addition to these contacts, end-product manufacturers like HP com-

 municate with suppliers at every level in their supply chains for other purposes, such as to certify

 compliance with legal requirements or ethical standards.



                                                 13
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 14 of 19 PageID #: 856




        40.     According to a notice that HP posted on its website regarding the California

 Transparency in Supply Chains Act of 2010, HP regularly audits suppliers for compliance with

 its “Supplier Code of Conduct” and other standards. True and correct copies of that Notice and

 HP’s Supplier Code of Conduct are attached as Exhibits 8 and 9, respectively.

        41.     HP’s Supplier Code of Conduct applies to all suppliers, including those engaged

 in manufacturing “parts, components, subassemblies, and materials” for HP products. Exhibit 9

 at 1. HP also claims that this Code of Conduct is “a total supply chain initiative,” and requires

 suppliers to certify “that they require their next tier suppliers to acknowledge and implement the

 HP Code of Conduct and hand the HP Code down to their sub-tier suppliers.” Exhibit 8 at 3; see

 Exhibit 9 at 2 (similar). Further, HP “require[s] suppliers to monitor the performance of their

 next tier suppliers against the requirements of the Code of Conduct.” Exhibit 8 at 3; see Exhibit 9

 at 9 (Supplier Responsibility).

        42.     So AOET and Newmax both know, or should know, that their lens systems are

 incorporated into HP products. They also know, or should know, that those products are sold

 throughout the United States, including in Texas, the state with the second largest population.

 Other publicly available facts and facts that Largan learned during its investigation confirm these

 conclusions.

        43.     As noted, HP has extensive facilities in Texas, although it claims that its principal

 place of business is in California. HP lists only two United States office locations on its website:

 one in California and one in Texas. See <https://www8.hp.com/us/en/contact-hp/office-loca-

 tions.html>. According to a recent news article, HP recently built a 378,000-square-foot campus

 near Houston, where approximately 2,300 HP employees work. See <https://www.houstonchron-

 icle.com/business/article/First-look-HP-s-new-Houston-campus-13732032.php>. Additionally, a



                                                  14
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 15 of 19 PageID #: 857




 major distributor of HP products across the United States, SMS InfoComm, is a Texas corpora-

 tion headquartered in Grapevine.

        44.     Further, as the complaint explains, AOET has repeatedly stated in annual reports

 that the United States is “the main market” for its products. AOET’s 2015–2018 annual reports,

 or “journals,” are available in Chinese on its website at <http://www.aoet.com.tw/en/investor>.

        45.     In each of AOET’s 2015–2018 annual reports, AOET explains that it applies for

 patent protection mainly in Taiwan, China, and the United States to enhance the value of its

 products, and that this is because of its R&D and manufacturing locations in Taiwan, because of

 its manufacturing location in China, and because the United States is “the main market” for its

 products. A true and correct copy of the relevant portion of the 2018 report is attached as Exhibit

 10. I am fluent in Mandarin Chinese and certify that my description of this exhibit is accurate.

        46.      Based on the facts that Largan’s investigation has revealed so far, AOET also

 regularly solicits and conducts business with other end-product manufacturers and companies in

 the United States, including Dell, which is headquartered in Texas.

        47.     AOET’s motion and Ms. Hsiao’s declaration omit any mention of Dell, even

 though the pre-suit infringement notices and communications that Largan sent to AOET, as al-

 leged in paragraphs 31, 33, and 36 of the complaint, discussed the incorporation of AOET lenses

 into Dell products along with the accused HP products.

        48.     For example, the subject line of the letter that I sent to AOET on May 20, 2019,

 referred to “AOET lens products used in HP’s and Dell’s products.” And the body of the letter

 listed two Dell products that Largan suspected of incorporating AOET lenses. A true and correct

 copy of that letter is attached as Exhibit 11.




                                                  15
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 16 of 19 PageID #: 858




        49.     Although Dell is not a party to this action, Largan also notified Dell that its prod-

 ucts may infringe patents-in-suit due to the incorporation of AOET lenses. And in subsequent

 communications between Largan and Dell, Dell confirmed that AOET is one of its suppliers.

        50.     AOET and Newmax also supply other United States companies. For instance,

 AOET is included on the public list of suppliers that Amazon publishes on its website. The list

 can be downloaded at <https://sustainability.aboutamazon.com/social-responsibility>. A true and

 correct copy of the relevant excerpt is attached as Exhibit 12.

        51.     Newmax also was “the only supplier of camera modules used in Microsoft Kinect

 sensors” and shipped “as many as 14 million units of these modules in 2010,” according to the

 DigiTimes, a Taiwan-based newspaper focusing on the electronics and computer industries in

 Taiwan and China. See <https://www.digitimes.com/news/a20101028PD206.html>. A true and

 correct copy of a printout of an archived version of this article is attached Exhibit 13.

        52.     Two more news articles in Chinese, dated February 23 and July 11, 2017, confirm

 that AOET is a significant supplier of lenses for Dell laptop webcams and that AOET also sup-

 plies major United States manufacturers of smart home products, including Amazon and Google.

 True and correct copies of those articles are attached as Exhibit 14. As noted, I am fluent in Man-

 darin Chinese and certify that my description of this exhibit is accurate.

        53.     Beyond those contacts with American companies, another Taiwan news article

 states that AOET’s General Manager and Chairman of the Board, Weiya Gao, attended the 2018

 CES trade show for consumer electronics in Las Vegas with a delegation of AOET employees,

 and they thereafter planned to visit AOET “customers” in San Francisco. A true and correct copy

 of that news article is attached as Exhibit 15. As noted, I am fluent in Mandarin Chinese and cer-

 tify that my description of this exhibit is accurate.



                                                   16
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 17 of 19 PageID #: 859




              54.               AOET also registered to attend the CES trnde show as an exhibitor in 2019 and in

 2020. The list of exhibitors for 2020 is available at <https://www.ces.tech/Show-Floor/Exhibitor­

 Directo1y.aspx>. As shown below, it includes AOET:

     lnform.:l'tion fot:   EXHIBITORS    MEDIA   INT'HIHAT10NAL


                           Consume,                                                                                                                                      JAN?-10,2020
                           Technology      TOPICS     CONFERENCE     SHOW FLOOR        LOGISTICS     SCHEDULE                                                            LAS\ltGAS,NV
                           A ""t,...,




                                   Exhibitor Directory
                                  CES is the largest cech show on the plal'M!t. showcasing more than 4,500 exhibiting companies that represent the entire consumer technology
                                  ecosystem.

                                  Browse CES 2020 exhibitors and create yoor personalized show floor plan.

                                                                                                                                                           DIRECTORY SPONSOR
                                        "Ability Opto-Electronics Technology Co., Ltd."                   0.        Alpha




                                                                                     Clear Fitters




                                                                                          Ability Opto-Electronics
                                                                                          Technology Co., Ltd.


                                                                                          •     H· 7932




              55.               In addition, other AOET employees' descriptions of their job duties coIToborate

 the above descriptions of the imaging-lens industiy and the fact that AOET has commercial rela­

 tionships with American companies, including Dell in Texas. These AOET employees' state­

 ments also indicate that AOET's relationships with end-product manufacturers confo1m with

 what Largan knows to be typical in the industiy.

              56.               For example, the Linkedln profile of one longtime AOET manager described his

 accomplishments as follows:

                           •    "[P]repar[ed] documents for Apple 3p MacBook lens 02MP qualification";

                           •    "Accelerated HP VGA1HD/2M lens yield target to HP goals";

                                                                                              17
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 18 of 19 PageID #: 860




              •   “Coordinated in DELL fingerprint AQP implementation”; and

              •   “Collaborated with end customer[s],” including Amazon, Google, and Datalogic,
                  “to kick off lens design and transfer to mass production.”

 A true and correct copy of a printout of that LinkedIn profile is attached as Exhibit 16.

        57.       The LinkedIn profile of an AOET engineer includes similar descriptions of her

 duties and accomplishments:

              •   “In charge of NB product for Dell, HP. Average shipment 1.5KK per month [and]
                  one of the AOET’s top three mass production models.”

              •   “In charge of Barcode product for Amazon Lab126.”

              •   “Work with Amazon, Asus and [m]any other companies’ R&D team to deal with
                  tolerance, dimension and quality issues.”

 A true and correct copy of a printout of that LinkedIn profile is attached as Exhibit 17.

        58.       And the LinkedIn profile of a longtime manager at Newmax’s Design Center

 states, in Chinese, that his duties included communicating “with international manufacturers

 such as MS (Microsoft), GOOGLE, [and] Intel for optical specifications.” A true and correct

 copy of a printout of that LinkedIn profile is attached as Exhibit 18. As noted, I am fluent in

 Mandarin Chinese and certify that my description of this exhibit is accurate.

        59.       As noted, AOET also seeks United States patent rights to enhance the value of its

 products because the United States is its main market. AOET has made extensive use of the

 United States patent system and, based on Patent Office records, currently is the assignee of 342

 United States patents and applications.

        60.       Newmax also has made extensive use of the United States patent system and,

 based on Patent Office records, currently is the assignee of 52 patents and applications.

        61.       Public records further indicate that AOET has obtained United States trademarks

 under 15 U.S.C. §1051(a) for marking its goods and services in United States commerce. Ac-


                                                  18
Case 4:19-cv-00696-ALM Document 54-1 Filed 01/23/20 Page 19 of 19 PageID #: 861
